     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 1 of 39 Page ID #:1



 1    Beth S. Brinkmann (SBN 129937)**
      bbrinkmann@cov.com
 2    Alexander A. Berengaut*
      aberengaut@cov.com
 3    Megan C. Keenan*
      mkeenan@cov.com
 4    COVINGTON & BURLING LLP
      850 Tenth Street, NW
 5    Washington, DC 20001
      Telephone: +1 (202) 662-6000
 6    Facsimile: + 1 (202) 778-6000
 7    John E. Hall (SBN 118877)
      jhall@cov.com
 8    Anders Linderot*
      alinderot@cov.com
 9    COVINGTON & BURLING LLP
      620 Eighth Avenue
10    New York, New York 10018-1405
      Telephone: +1 (212) 841-1000
11    Facsimile: + 1 (212) 841-1010
12    Mitchell A. Kamin (SBN 202788)
      mkamin@cov.com
13    Benjamin G. Cain (SBN 325122)**
      bcain@cov.com
14    COVINGTON & BURLING LLP
      1999 Avenue of the Stars, Suite 3500
15    Los Angeles, California 90067-4643
      Telephone: + 1 (424) 332-4800
16    Facsimile: + 1 (424) 332-4749
17    Attorneys for Plaintiffs
18     *Pro hac vice application forthcoming
      **C.D. California admission forthcoming
19

20                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
21                             WESTERN DIVISION
22     TIKTOK INC. and BYTEDANCE LTD.,               Case No. 2:20-cv-7672
23                        Plaintiffs,                COMPLAINT FOR INJUNCTIVE
                                                     AND DECLARATORY RELIEF
24           v.
25     DONALD J. TRUMP, in his official
       capacity as President of the United States;
26     WILBUR L. ROSS, JR., in his official
       capacity as Secretary of Commerce; and
27     U.S. DEPARTMENT OF COMMERCE,
28                        Defendants.

                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 2 of 39 Page ID #:2



 1          Plaintiffs TikTok Inc. and ByteDance Ltd., for their Complaint against
 2    Defendants DONALD J. TRUMP, in his official capacity as President of the United
 3    States; WILBUR L. ROSS, JR., in his official capacity as Secretary of Commerce;
 4    and the U.S. DEPARTMENT OF COMMERCE; allege as follows:
 5                                    INTRODUCTION
 6          1.     This action seeks to prevent the government from impermissibly
 7    banning TikTok, a mobile software application that 100 million Americans use to
 8    create and share short videos composed of expressive content. On August 6, 2020,
 9    President Trump issued an executive order banning this communication and
10    information-sharing platform, without affording its owners—Plaintiffs TikTok Inc.
11    and ByteDance Ltd.—due process of law and for political reasons rather than
12    because of an “unusual and extraordinary threat” to the United States, which is a
13    condition for the President to exercise his authority under the International
14    Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. §§ 1701–1706. The
15    President’s executive order is unconstitutional and ultra vires, and must be enjoined.
16          2.     IEEPA vests the President with significant power to prohibit certain
17    transactions to protect U.S. national security. Past presidents have used this power
18    responsibly to protect the country from genuine threats from abroad, including
19    terrorism and the proliferation of weapons of mass destruction. Through this
20    executive order, however, President Trump seeks to use IEEPA against TikTok Inc.,
21    a U.S. company—headquartered in Los Angeles with hundreds of employees across
22    the United States—to destroy an online community where millions of Americans
23    have come together to express themselves, share video content, and make
24    connections with each other. The order imposes these restrictions despite express
25    limitations in IEEPA barring executive actions from restricting personal
26    communications or the transmission of informational materials. The order also
27    sweeps broadly to ban any transactions with TikTok Inc.’s parent company,
28    ByteDance, even though the purported justification for the order is limited to the
                                               -1-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 3 of 39 Page ID #:3



 1    TikTok mobile application (“TikTok”), which is just one of ByteDance’s several
 2    businesses. The order is thus a gross misappropriation of IEEPA authority and a
 3    pretext for furthering the President’s broader campaign of anti-China rhetoric in the
 4    run-up to the U.S. election.
 5          3.     The executive order seeks to ban TikTok purportedly because of the
 6    speculative possibility that the application could be manipulated by the Chinese
 7    government. But, as the U.S. government is well aware, Plaintiffs have taken
 8    extraordinary measures to protect the privacy and security of TikTok’s U.S. user
 9    data, including by having TikTok store such data outside of China (in the United
10    States and Singapore) and by erecting software barriers that help ensure that TikTok
11    stores its U.S. user data separately from the user data of other ByteDance products.
12    These actions were made known to the U.S. government during a recent U.S.
13    national security review of ByteDance’s 2017 acquisition of a China-based
14    company, Musical.ly.     As part of that review, Plaintiffs provided voluminous
15    documentation to the U.S. government documenting TikTok’s security practices and
16    made commitments that were more than sufficient to address any conceivable U.S.
17    government privacy or national security concerns—even going so far as to be
18    prepared to spin-out the U.S. TikTok business to trusted American investors.
19          4.     Ignoring these demonstrable facts and commitments, President
20    Trump’s executive order authorizes the Secretary of Commerce to prohibit “any
21    transaction” with ByteDance and its subsidiaries, including banning TikTok from
22    operating in the United States. It is revealing that the President’s order took no
23    account of the national security review process involving the Committee on Foreign
24    Investment in the United States (“CFIUS” or “the Committee”) that was still pending
25    at the time of the executive order. Instead, the order was issued abruptly after the
26    President had proclaimed in a campaign-style news conference that TikTok Inc. had
27    “no rights” and that he would ban TikTok if Plaintiffs did not pay money to the U.S.
28    Treasury to secure the U.S. government’s approval for any sale. The President stated

                                               -2-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 4 of 39 Page ID #:4



 1    that he would use his IEEPA authority to force TikTok to “close down” unless it is
 2    acquired through “an appropriate deal” in which “the Treasury . . . of the United
 3    States gets a lot of money.” 1
 4          5.      The executive order and, necessarily, any implementing regulations are
 5    unlawful and unconstitutional for a number of independent reasons:
 6               • By banning TikTok with no notice or opportunity to be heard (whether
 7                  before or after the fact), the executive order violates the due process
 8                  protections of the Fifth Amendment.
 9               • The order is ultra vires because it is not based on a bona fide national
10                  emergency and authorizes the prohibition of activities that have not
11                  been found to pose “an unusual and extraordinary threat.”
12               • The order is ultra vires because its prohibitions sweep broadly to
13                  prohibit any transactions with ByteDance, although the purported threat
14                  justifying the order is limited to TikTok, just one of ByteDance’s
15                  businesses.
16               • The order is ultra vires because it restricts personal communications
17                  and the transmission of informational materials, in direct violation of
18                  IEEPA.
19               • IEEPA lacks any intelligible principle to guide or constrain the
20                  President’s action and thereby violates the non-delegation doctrine, as
21                  the President’s overbroad and unjustified claim of authority in this
22                  matter confirms.
23               • By demanding that Plaintiffs make a payment to the U.S. Treasury as a
24                  condition for the sale of TikTok, the President has taken Plaintiffs’
25                  property without compensation in violation of the Fifth Amendment.
26               • By preventing TikTok Inc. from operating in the United States the
27    1
       Fadel Allassan, Trump says TikTok will be banned if not sold by Sept. 15, demands
28    cut of sale fee, Axios (Aug. 3, 2020), https://www.axios.com/trump-tiktok-banned-
      microsoft-fd45748d-1ee8-4f4a-812a-09ec76d6f8e2.html.
                                               -3-
                        COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 5 of 39 Page ID #:5



 1                 executive order violates TikTok Inc.’s First Amendment rights in its
 2                 code, an expressive means of communication.
 3           6.    Accordingly, ByteDance and TikTok Inc. seek a declaratory judgment
 4    and order invalidating and enjoining the executive order and any implementing
 5    regulations issued by the Department of Commerce. 2
 6                              JURISDICTION AND VENUE
 7           7.    The Court has subject matter jurisdiction under 28 U.S.C. § 1331
 8    because this action arises under the United States Constitution and the International
 9    Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. §§ 1701–1706.
10           8.    The Court has authority to grant declaratory and injunctive relief
11    pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq.; 5 U.S.C. § 702;
12    and the Court’s inherent equitable powers.
13           9.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(e)(1),
14    because officers or employees of agencies of the United States acting in their official
15    capacities and an agency of the United States are defendants, because Plaintiff
16    TikTok Inc. has its principal place of business in this district, and because a
17    substantial part of the events or omissions giving rise to this action occurred in this
18    district.
19                                         PARTIES
20           A.    Plaintiffs
21           10.   Plaintiff TikTok Inc. is a company incorporated in California, with its
22    principal place of business in Culver City, California.
23           11.   Plaintiff ByteDance Ltd. (“ByteDance”) is a global company
24    incorporated in the Cayman Islands, with offices in the United States, China,
25    Singapore, the United Kingdom, and India, among others. ByteDance owns and
26    2
        The order tasks the Department of Commerce with identifying the specific
27    transactions to be banned by September 20, 2020, and with adopting rules and
      regulations as may be necessary to implement the order. Plaintiffs intend to amend
28    this complaint pursuant to Fed. R. Civ. P. 15(a)(1)(A) and move for a preliminary
      injunction after the regulations are issued.
                                                -4-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 6 of 39 Page ID #:6



 1    operates a variety of mobile software applications that enable people around the
 2    world to connect with, consume, and create entertainment content, including
 3    TikTok. ByteDance also owns and operates other applications that are available in
 4    the United States, such as CapCut, a video editing application, and Lark, a
 5    collaboration and communications software product.
 6          B.     Defendants
 7          12.    Defendant Donald J. Trump is the President of the United States.
 8    President Trump made the decision to ban TikTok and issue the August 6, 2020
 9    executive order, purportedly acting under authority of IEEPA.
10          13.    Defendant Wilbur T. Ross, Jr. is the Secretary of Commerce and is sued
11    in his official capacity. President Trump’s executive order tasks Secretary Ross with
12    identifying the transactions subject to the order and authorizes him to implement the
13    order through regulations.
14          14.    The Department of Commerce is the cabinet department of the federal
15    government responsible for implementing the executive order.
16                                 FACTUAL ALLEGATIONS
17    I.    TikTok’s Global Success              Has    Resulted     From      Private-Sector
18
            Entrepreneurial Innovation.

19          15.    TikTok is an inclusive communication platform for making and sharing
20    short-form videos through the TikTok mobile application. It encourages users to
21    celebrate what makes them unique, while finding a community that does the same.
22    TikTok Inc.’s mission is to inspire creativity and bring joy. It strives to build a global
23    community, in which users can create and share authentically, discover the world
24    around them, and connect with others across the globe.3
25          16.    The TikTok application enables users to create and upload short videos
26    that are fifteen seconds to one minute in duration. In this respect, TikTok operates
27
      3
28     TikTok, Our Mission, https://www.tiktok.com/about?lang=en (last visited Aug.
      21, 2020).
                                          -5-
                        COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 7 of 39 Page ID #:7



 1    much like other digital application platforms such as Snapchat, YouTube, and
 2    Instagram, in that users create and post content on the platform. TikTok offers
 3    features such as background music and augmented reality effects, but users control
 4    which features to pair with the content of their self-directed videos, and TikTok
 5    serves as a host for the content created by its users.
 6          17.    The TikTok application began as a product of private-sector
 7    entrepreneurship. In 2012, 29-year-old entrepreneur Yiming Zhang founded TikTok
 8    Inc.’s parent corporation, ByteDance. ByteDance is owned by Zhang and a number
 9    of major global institutional investors based in the United States, including Sequoia,
10    General Atlantic, Coatue, and SIG. No foreign government, or person controlled by
11    or acting on behalf of a foreign government, owns any significant interest or any
12    other affirmative or negative rights or powers in ByteDance.
13          18.    Since founding ByteDance, Zhang has developed multiple products and
14    services, including TikTok, many of which are operated through subsidiaries and
15    affiliates—such as TikTok Inc. in the United States. TikTok is not offered in China,
16    where ByteDance operates a similar but separate video-sharing platform called
17    Douyin.
18          19.    TikTok’s user base has grown at a rapid pace in the United States. By
19    January 2018, TikTok had 11,262,970 U.S. monthly active users. By February 2019,
20    TikTok’s base more than doubled, with a total of 26,739,143 U.S. monthly active
21    users. By October of that same year, TikTok’s total number of U.S. monthly active
22    users had climbed to 39,897,768. And by June 2020, TikTok’s total number of U.S.
23    monthly active users had soared to 91,937,040. Today, based on quarterly usage,
24    100 million Americans use the TikTok application.
25          20.    TikTok’s growth in the United States paralleled its expansion
26    worldwide. By January 2018, TikTok had 54,793,729 global monthly active users.
27    By December of that year, TikTok had 271,188,301 global monthly active users.
28    And one year later, in December 2019, TikTok had 507,552,660 global monthly

                                                -6-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 8 of 39 Page ID #:8



 1    active users. As of July 2020, TikTok had 689,174,209 global monthly active users,
 2    and by August 2020, TikTok surpassed two billion global downloads.
 3          21.    As a result of its rapid growth and success, TikTok has become
 4    available in more than 200 countries, and it currently has approximately 50 million
 5    daily active users in the United States. TikTok has grown largely because of its
 6    appeal to those who value the blend of light entertainment, creativity, and humor
 7    that the application provides.
 8          22.    TikTok is also used by its users to discuss more serious subjects,
 9    including political issues. “Society’s struggles are on full display in TikTok,”
10    including in the many posts about “the tragic death of George Floyd[,] LGBTQ
11    awareness[,] and tributes to healthcare workers [] who are on the frontlines of
12    COVID-19.”4 As of August 24, 2020, TikTok users had amassed approximately 6.8
13    million views of posts with the hashtag #RIPJohnLewis, 230.3 million views of posts
14    about #Juneteenth, and 20.3 billion views of posts about #BlackLivesMatter. 5
15    Prominent TikTok users like Sarah Cooper have attracted millions of views based
16    on posts that satirize the President, as have posts with hashtags such as
17    #MakeAmericaGreatAgain and #BuildThatWall. 6 And TikTok users claimed they
18    used TikTok to coordinate mass ticket reservations for the President’s re-election
19
      4
20      Gene Del Vecchio, TikTok Is Pure Self-Expression. This Is Your Must-Try
      Sampler., Forbes (June 6, 2020), https://www.forbes.com/sites/genedelvecchio/
21    2020/06/06/tiktok-is-pure-self-expression-this-is-your-must-try-
      sampler/#4e40f1f15a09.
22
      5
         TikTok, #RIPJohnLewis, https://www.tiktok.com/tag/RIPJohnLewis?lang=en
23    (last visited Aug. 24, 2020); TikTok, #Juneteenth, https://www.tiktok.com/
      tag/Juneteenth?lang=en (last visited Aug. 24, 2020); TikTok, #BlackLivesMatter,
24    https://www.tiktok.com/tag/BlackLivesMatter?lang=en (last visited Aug. 24, 2020).
      6
25      Charles Trepany, Who is Sarah Cooper? Viral Trump Impersonator appears at
      DNC, bags TV specials, USA Today (Aug. 20, 2020), https://www.usatoday.com/
26    story/entertainment/celebrities/2020/07/21/trump-impersonator-sarah-cooper-
      reflects-viral-social-media-stardom/5483534002/; TikTok, #MakeAmericaGreat
27    Again, https://www.tiktok.com/tag/MakeAmericaGreatAgain?lang=en (last visited
      Aug. 23, 2020) (approximately 104.5 million views); TikTok, #BuildThatWall,
28    https://www.tiktok.com/tag/BuildThatWall?lang=en (last visited Aug. 23, 2020).

                                              -7-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
     Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 9 of 39 Page ID #:9



 1    campaign rally in Tulsa, which inflated projected attendance in the days leading up
 2    to the event. 7 Several American politicians are verified users on TikTok, including
 3    Governor Michael DeWine of Ohio, Senator Ed Markey of Massachusetts, Governor
 4    Gavin Newsom of California, and Senator Bernie Sanders of Vermont.
 5          23.    TikTok is an economic lifeline for many of its users, especially during
 6    the COVID-19 pandemic. TikTok has given rise to new, non-traditional social
 7    media celebrities—“many of them working-class folks . . . in villages far from []
 8    cosmopolitan megacities”—and has become “a livelihood for some people,”
 9    providing “fame, empowerment and even a path out of poverty.” 8
10    II.   TikTok Has Implemented Safeguards to Help Protect the Privacy and
11
            Security of U.S. User Data.

12          24.    Maintaining a safe and supportive environment for its users is a critical
13    priority for Plaintiffs. TikTok’s business model rests on the principle that a safe
14    environment is essential to helping people feel comfortable with expressing
15    themselves openly and creatively. Plaintiffs also aim to cultivate an environment
16    for authentic interactions by working to keep deceptive content and accounts off
17    TikTok.
18          25.    TikTok has been structured to help protect the privacy and security of
19    U.S. user data. Those protections begin with TikTok’s practices in collecting user
20    data. TikTok collects limited data from its users in accordance with its privacy
21    policy. 9 For user data that is collected, TikTok prioritizes its secure storage. The
22    current version of TikTok made available in the United States (i.e., the version
23    7
        Taylor Lorenz et al, TikTok Teens and K-Pop Stans Say They Sank Trump Rally,
24    N.Y. Times (July 11, 2020), https://www.nytimes.com/2020/06/21/style/tiktok-
      trump-rally-tulsa.html.
25    8
       Sushmita Pathak, ‘TikTok Changed My Life’: India’s Ban On Chinese App Leaves
26    Video Makers Stunned, NPR (July 16, 2020), https://www.npr.org/2020/
      07/16/890382893/tiktok-changed-my-life-india-s-ban-on-chinese-app-leaves-
27    video-makers-stunned.
      9
28      TikTok, Privacy Policy (last updated Jan. 1, 2020), https://www.tiktok.com/
      legal/privacy-policy?lang=en.
                                           -8-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 10 of 39 Page ID #:10



 1   principally affected by Defendant’s unlawful ban and the version on which this
 2   complaint focuses) stores all U.S. user data on servers in the United States and
 3   Singapore, where it is segregated from data relating to other ByteDance products
 4   and services by software-based controls. TikTok does not store any U.S. user data
 5   in China.
 6         26.    While it is in storage, the following U.S. user data is currently encrypted
 7   using the industry-standard key management service (“KMS”) encryption algorithm
 8   (AES 256 GCM), which is operated by TikTok’s U.S. security team: names,
 9   birthdays, home addresses, phone numbers, emails, passwords, PayPal account
10   information, contact list, private videos, direct messages, and certain fields of the
11   log-in history.
12         27.    The KMS algorithm also generates secret keys required to access
13   encrypted data, and these keys are managed by the U.S. security team, under the
14   control and direction of Roland Cloutier, the U.S.-based Global Chief Security
15   Officer. ByteDance’s China-based engineering personnel supporting TikTok may
16   access these encrypted data elements in decrypted form based on demonstrated need
17   and if they receive permission under the Data Access Approval Process, which is
18   managed by TikTok’s U.S.-based team.
19         28.    TikTok has additional internal controls in place to prevent keys that
20   decrypt U.S. user data from being accessed by ByteDance personnel without
21   authorization from the U.S. security team. TikTok regularly conducts code audits
22   and internal reviews of access to data to help ensure that no unauthorized access to
23   U.S. user data takes place, and it has not identified any purposeful breach of security
24   controls.
25         29.    In addition to its storage security practices, TikTok takes steps to secure
26   and encrypt user data while it is being transmitted. TikTok currently uses Hypertext
27   Transfer Protocol Secure (“HTTPS”) by default for transmission of user data in the
28   United States, the same industry-standard protocol used by major U.S. banks and

                                               -9-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 11 of 39 Page ID #:11



 1   e-commerce platforms to secure their online transactions.
 2         30.    TikTok is committed to continually strengthening its data privacy
 3   policies to protect its users, to maintain sponsors’ trust, and to comply with
 4   applicable legal and regulatory standards. TikTok regularly reviews its security
 5   protections to identify and remediate any potential vulnerabilities. This is part of a
 6   mature software development lifecycle program that involves both automatic and
 7   manual review of security controls at multiple points in the development process.
 8   TikTok also has a vulnerability reporting policy that invites security researchers to
 9   disclose information about vulnerabilities, 10 and it relies on respected American
10   third-party vendors to validate its security controls and help ensure that U.S. user
11   data is not subject to security vulnerabilities.
12         31.    In addition to safeguarding TikTok user data against data breaches,
13   hackers, and other malicious actors, TikTok has security controls designed to protect
14   the integrity of its source code. For example, employees must demonstrate a need
15   for information before they can access TikTok source code. Even upon a showing
16   of such a need, the employee still must obtain appropriate authorization to access the
17   source code, and security controls embedded in the network monitor the employee’s
18   review and activities. TikTok has also repeatedly engaged internal engineers and
19   third-party vendors to perform quality and security checks and conduct intensive
20   code reviews to help ensure that no back doors exist in TikTok’s source code.
21         32.    TikTok has reinforced its commitment to prioritizing the privacy and
22   security concerns of U.S. users by placing U.S.-based executives in key leadership
23   positions that shape the direction of the company. TikTok is led by a senior
24   management team located in the United States. Its Chief Executive Officer, General
25   Manager, Global Chief Security Officer, U.S. Head of Safety, and General Counsel
26
     10
27     TikTok, Report Security Vulnerabilities, https://support.tiktok.com/en/privacy-
     safety/reportsecurityvulnerabilities-default#:~:text=Coordinated%20Disclosure%
28   20Policy%20as%20defined,submission%2C%20whichever%20is%20sooner.%22.

                                               -10-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 12 of 39 Page ID #:12



 1   are all U.S.-based persons.     These U.S.-based leaders came to TikTok from
 2   leadership positions in prominent U.S. companies like the Walt Disney Company,
 3   ADP, YouTube, and Microsoft. 11
 4          33.     TikTok Inc. has broadened its commitment to hiring U.S. personnel
 5   beyond the highest levels of leadership as well, including by hiring dozens of highly
 6   qualified individuals with experience at leading U.S. technology companies. TikTok
 7   has also established a fully staffed content moderation team in the United States to
 8   oversee all content moderation decisions for U.S. users.       And Plaintiffs have
 9   announced plans to add approximately 10,000 jobs in the United States over the next
10   three years. 12
11          34.     TikTok’s U.S.-based leadership team has consistently stressed its
12   commitment to prioritizing U.S. data privacy and security. 13 Most recently, on July
13   29, 2020, TikTok announced the launch of its Transparency and Accountability
14   Center for moderation and data practices, which will enable experts to “observe our
15   moderation policies in real-time, as well as examine the actual code that drives our
16   algorithms.”      As the announcement explained, this act of transparency is
17   unparalleled by other major social media companies and “puts [TikTok] a step ahead
18   of the industry.” 14
19          35.     As these efforts reflect, Plaintiffs are committed to appropriately
20   safeguarding U.S. user data against unauthorized access from outside the United
21
     11
22     Brooks Barnes & Jack Nicas, Disney’s Head of Streaming Is New TikTok C.E.O.,
     N.Y.    Times     (May 18,       2020), https://www.nytimes.com/2020/05/18/
23   business/media/tiktok-ceo-kevin-mayer.html.
     12
24     Reuters, TikTok plans to add 10,000 jobs in U.S. over next three years (July 21,
     2020), https://www.reuters.com/article/us-tiktok-jobs/tiktok-plans-to-add-10000-
25   jobs-in-u-s-over-next-three-years-idUSKCN24M1S9.
     13
26     Vanessa Pappas, Explaining TikTok’s approach in the US, TikTok (Nov. 5, 2019),
     https://newsroom.tiktok.com/en-us/explaining-tiktoks-approach-in-the-us.
27   14
       Kevin Mayer, Fair competition and transparency benefits us all, TikTok (July 29,
28   2020),       https://newsroom.tiktok.com/en-us/fair-competition-and-transparency-
     benefits-us-all.
                                            -11-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 13 of 39 Page ID #:13



 1   States—including by any foreign government. TikTok is not and has never been
 2   offered in China.    There is no connection between TikTok and the Chinese
 3   government. Nor does the Chinese government exert any control over TikTok Inc.
 4   through its parent company, ByteDance. The key personnel responsible for TikTok,
 5   including its CEO, Global Chief Security Officer, and General Counsel, are all
 6   Americans based in the United States—and therefore are not subject to Chinese law.
 7   U.S. content moderation is likewise led by a U.S.-based team and operates
 8   independently from China, and, as noted above, the TikTok application stores U.S.
 9   user data on servers located in the United States and Singapore.
10          36.   Neither TikTok Inc. nor ByteDance provides TikTok user data to the
11   Chinese government, and the Chinese government has never asked for data on
12   TikTok users or to moderate TikTok content. Plaintiffs would reject any such
13   request.
14   III.   Plaintiffs Proactively Engaged with the U.S. Government and Sought to
15
            Address Any Conceivable National Security Concerns.

16          37.   As the foregoing reflects, as TikTok has grown, it has continued to
17   refine and strengthen its data privacy protections and has done so voluntarily,
18   reflecting its ongoing commitment to U.S. users. As part of these efforts, Plaintiffs
19   have also sought proactively to engage with the U.S. Government to anticipate and
20   address any concerns it might have.       These efforts have included responding
21   separately and diligently to inquiries from CFIUS.
22          38.   CFIUS is the regulatory body tasked with reviewing foreign
23   acquisitions of U.S. businesses to determine their impact on national security.
24   CFIUS reviews transactions to identify and address any unresolved national security
25   concerns they might pose to the United States. If CFIUS identifies such a risk that
26   cannot be adequately and appropriately addressed by other legal authorities, the
27   Committee or a lead agency may, on behalf of the Committee, negotiate, enter into
28   or impose, and enforce any agreement or condition with any party to the covered

                                             -12-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 14 of 39 Page ID #:14



 1   transaction in order to mitigate any risk to the national security of the United States
 2   that arises as a result of the covered transaction. Under its governing statute, CFIUS
 3   may refer a transaction to the President if CFIUS is unable to identify adequate and
 4   appropriate mitigation, i.e., mitigation measures that it believes (a) can successfully
 5   address the identified risk, (b) allow for verifiable compliance, and (c) can be
 6   effectively monitored and enforced, consistent with the requirements of 50 U.S.C.
 7   § 4565(l)(3)(C).    The President is ultimately empowered to prohibit covered
 8   transactions that pose threats to national security that cannot be adequately and
 9   appropriately addressed through other authorities.
10         39.     In 2019, CFIUS contacted ByteDance to consider whether to review its
11   acquisition of Musical.ly, a China-based video-sharing platform—even though
12   Musical.ly was based in China and had very limited assets in the United States. This
13   review was highly unusual in that ByteDance had acquired Musical.ly two years
14   earlier in 2017, Musical.ly was previously Chinese-owned and based in China, and
15   ByteDance had predominantly abandoned Musical.ly’s limited U.S. assets by the
16   time of CFIUS’s outreach in 2019. Nevertheless, in March 2020, after months of
17   evaluating its jurisdiction, CFIUS advised ByteDance that it intended to conduct a
18   formal review of the acquisition of Musical.ly, and on June 15, 2020, CFIUS
19   initiated that review. This lengthy deliberation by a U.S. government institution
20   comprised of national security professionals simply underscores that, in fact, there
21   was no national emergency in relation to TikTok or ByteDance’s acquisition of
22   Musical.ly.
23         40.     The Musical.ly acquisition did not affect—let alone undermine—
24   TikTok Inc.’s commitments to the security and privacy of its U.S. user data, nor did
25   it create any national security concerns. In fact, after acquiring Musical.ly in 2017,
26   ByteDance and TikTok migrated Musical.ly users to TikTok and, as noted above,
27   effectively abandoned the Musical.ly code, brand, and business. And since the
28   Musical.ly acquisition, ByteDance and TikTok Inc. have sought to base more of the

                                              -13-
                        COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 15 of 39 Page ID #:15



 1   TikTok business, including the user data, in the United States.
 2         41.    CFIUS nevertheless initiated a review of the Musical.ly acquisition,
 3   following, as noted, a lengthy period of evaluating whether there was a basis for such
 4   a review.   During this period, and through the course of the CFIUS review,
 5   ByteDance provided voluminous documentation and information in response to
 6   CFIUS’s questions.      Among other evidence, ByteDance submitted detailed
 7   documentation to CFIUS demonstrating TikTok’s security measures to help ensure
 8   U.S. user data is safeguarded in storage and in transit and cannot be accessed by
 9   unauthorized persons—including any government—outside the United States.
10         42.    CFIUS never articulated any reason why TikTok’s security measures
11   were inadequate to address any national security concerns, and effectively
12   terminated formal communications with Plaintiffs well before the conclusion of the
13   initial statutory review period. Notwithstanding the U.S. government’s failure to
14   identify any security risk, in an effort to address any conceivable concerns that the
15   U.S. government may have and to assure continuity for the U.S. users who had come
16   to value and cherish the platform that TikTok provides, Plaintiffs took the
17   extraordinary step of offering to restructure their U.S. business. From the middle
18   through the end of July 2020, ByteDance proposed various mitigation plans to the
19   U.S. Treasury Department (which chairs CFIUS), including spinning out TikTok’s
20   U.S. business to American investors and/or trusted U.S. technology partners that
21   would be responsible for maintaining and operating TikTok in the United States. On
22   July 30, 2020, Plaintiffs also notified CFIUS that ByteDance had signed a non-
23   binding Letter of Intent (LOI) with Microsoft Corporation contemplating that,
24   among other things, Microsoft could acquire the U.S. TikTok business and could
25   serve as the trusted technology partner for TikTok’s U.S. business.
26         43.    Despite these repeated efforts and concrete proposals to alleviate any
27   national security concerns, the agency record reflects that CFIUS repeatedly refused
28   to engage with ByteDance and its counsel about CFIUS’s concerns.

                                             -14-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 16 of 39 Page ID #:16



 1         44.    At 11:55 p.m. on July 30, 2020—the final day of the statutory CFIUS
 2   review period—the Committee issued a letter stating that “CFIUS has identified
 3   national security risks arising from the Transaction and that it has not identified
 4   mitigation measures that would address those risks.”
 5         45.    The CFIUS letter was principally based on outdated news articles,
 6   failed to address the voluminous documentation that Plaintiffs had provided
 7   demonstrating the security of TikTok user data, and was flawed in numerous other
 8   respects. Most conspicuously, the Letter entirely failed to substantively address the
 9   actual mitigation proposals that were on the table—namely, ByteDance’s
10   willingness to restructure its U.S. business.
11   IV.   Defendants Have Banned TikTok Without Providing Plaintiffs Due
12
           Process of Law.

13         A.     Purporting to Act Under IEEPA, the President Issued an
14
                  Extraordinary Executive Order Banning TikTok That Was Not
                  Based on Any Bona Fide National Security Concern.
15

16         46.    On August 6, 2020, notwithstanding ByteDance’s ongoing good-faith
17   efforts to pursue reforms and restructuring of the TikTok U.S. business, President
18   Trump took the unprecedented step of issuing the executive order challenged here,
19   entitled “Addressing the Threat Posed by TikTok.” 15 The President took this
20   extraordinary step without affording Plaintiffs any notice or opportunity to engage
21   in relation to any of the points raised in the order, all of which are speculative and
22   not based on actual facts, as described below.
23         47.    The executive order cites the International Emergency Economic
24   Powers Act (50 U.S.C. § 1701 et seq.) (“IEEPA”), the National Emergencies Act
25   (50 U.S.C. § 1601 et seq.), and 3 U.S.C. § 301 as the legal authority for issuing the
26
     15
27      White House, Executive Order on Addressing the Threat Posed by TikTok (Aug.
     6,    2020),     https://www.whitehouse.gov/presidential-actions/executive-order-
28   addressing-threat-posed-tiktok/. The August 6 executive order was numbered 13942
     and published in the Federal Register at 85 Fed. Reg. 48637.
                                             -15-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 17 of 39 Page ID #:17



 1   order.
 2            48.       IEEPA grants the President authority to regulate various international
 3   economic transactions during wartime or upon declaration of a national emergency
 4   “to deal with any unusual and extraordinary threat, which has its source in whole or
 5   substantial part outside the United States, to the national security, foreign policy, or
 6   economy of the United States.” 50 U.S.C. § 1701(a). Before the President is
 7   empowered to exercise authority under IEEPA, the President must first declare a
 8   national emergency for purposes of the National Emergencies Act, 50 U.S.C. § 1601
 9   et seq. (“NEA”).
10            49.       Previous administrations have used IEEPA to impose sanctions on
11   foreign states like Iran and North Korea, or individuals who have been placed on the
12   Specially Designated Nationals and Blocked Persons List published by the U.S.
13   Treasury Department’s Office of Foreign Assets Control, because of the sanctioned
14   entity’s participation in terrorist activities or human rights abuses. These uses of
15   IEEPA have provided important protection against such external threats as
16   international terrorism and the proliferation of weapons of mass destruction. The
17   use of IEEPA to ban TikTok, however, marks a dramatic break from past practices.
18            50.       On its face, the executive order fails to identify any unusual and
19   extraordinary threat posed by TikTok—or any actual national security threat at all.
20   Rather, the order makes various unsubstantiated assertions to support its purported
21   findings, as follows:
22                  •   “[TikTok’s] data collection threatens to allow the Chinese Communist
23                      Party access to Americans’ personal and proprietary information —
24                      potentially allowing China to track the locations of Federal employees
25                      and contractors, build dossiers of personal information for blackmail,
26                      and conduct corporate espionage.”
27                  • TikTok “also reportedly censors content that the Chinese Communist
28                      Party deems politically sensitive, such as content concerning protests

                                                  -16-
                            COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 18 of 39 Page ID #:18



 1                    in Hong Kong and China’s treatment of Uyghurs and other Muslim
 2                    minorities.”
 3                  • TikTok “may also be used for disinformation campaigns that benefit
 4                    the Chinese Communist Party, such as when TikTok videos spread
 5                    debunked conspiracy theories about the origins of the 2019 Novel
 6                    Coronavirus.”16
 7            51.     As its equivocal language telegraphs, the executive order provides
 8   absolutely no evidence for any of its self-described findings. The order cites no
 9   evidence that TikTok enables the Chinese government to track any U.S. persons, nor
10   does the order substantiate its allegations regarding TikTok’s supposed censorship
11   or its use as a platform for disinformation. It also fails to take account of any of the
12   voluminous documentation provided to CFIUS, which details TikTok’s policies,
13   procedures, and operational teams in place to safeguard against precisely these
14   hypothetical concerns. While IEEPA does not require a risk to fully materialize
15   before the President may invoke its authorities, it cannot be—and is not—the case
16   that the statute permits the President to rely on such unfounded speculation.
17            52.     The order uses such equivocal language because, in fact, TikTok does
18   none of these things: TikTok has made it clear, through its actions and statements,
19   that it shares no information with the Chinese government and will never do so—a
20   conclusion reportedly shared by the CIA, which found “no evidence” that Chinese
21   intelligence services have ever accessed data from TikTok. 17 TikTok also has a
22   mature content moderation program designed to provide a safe forum for its users,
23   and one that does not censor content to advance the political—or any other—
24   objectives of any government, including the Chinese government. And, there is
25
     16
26        Id. (emphasis added).
     17
27     Rachel Sandler, CIA Finds ‘No Evidence’ Chinese Government Has Accessed
     TikTok Data, Report Says, Forbes (Aug. 8, 2020), https://www.forbes.com/sites/
28   rachelsandler/2020/08/07/cia-finds-no-evidence-chinese-government-has-
     accessed-tiktok-data-report-says/#13f3fbaa4c25.
                                            -17-
                          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 19 of 39 Page ID #:19



 1   absolutely zero evidence that TikTok has ever been used to spread disinformation or
 2   conspiracy theories for any government.
 3           53.   Instead of identifying any threats related to TikTok, the executive order
 4   draws upon the previously declared “national emergency with respect to the
 5   information and communications technology and services supply chain declared in
 6   Executive Order 13873 of May 15, 2019 (Securing the Information and
 7   Communications Technology and Services Supply Chain).”
 8           54.   That previous executive order was designed to address asserted U.S.
 9   national security concerns about Chinese telecommunications companies. It found
10   that “foreign adversaries are increasingly creating and exploiting vulnerabilities in
11   information and communications technology and services, which store and
12   communicate vast amounts of sensitive information, facilitate the digital economy,
13   and support critical infrastructure and vital emergency services, in order to commit
14   malicious cyber-enabled actions, including economic and industrial espionage
15   against the United States and its people,” and that the use of these information and
16   communications technology and services “constitutes an unusual and extraordinary
17   threat to the national security, foreign policy, and economy of the United States.”18
18           55.   President Trump’s August 6 order targeting TikTok purports to draw
19   upon the national emergency established in Executive Order 13873, and newly
20   declares that “the spread in the United States of mobile applications developed and
21   owned by companies in the People’s Republic of China” (China) continues to
22   threaten the national security, foreign policy, and economy of the United States,”
23   and that “action must be taken to address the threat posed by one mobile application
24   in particular, TikTok.” 19
25
     18
       White House, Executive Order on Securing the Information and Communications
26   Technology     and    Services     Supply      Chain     (May      15,    2019),
     https://www.whitehouse.gov/presidential-actions/executive-order-securing-
27   information-communications-technology-services-supply-chain/.
     19
28        White House, Executive Order on Addressing the Threat Posed by TikTok (Aug.

                                              -18-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 20 of 39 Page ID #:20



 1              56.   The order then prohibits “any transaction by any person, or with respect
 2   to any property, subject to the jurisdiction of the United States, with ByteDance Ltd.
 3   (a.k.a. Zìjié Tiàodòng), Beijing, China, or its subsidiaries, in which any such
 4   company has any interest, as identified by the Secretary of Commerce,” and declares
 5   that the prohibition will take effect starting 45 days after the issuance of the order,
 6   which is on September 20, 2020. The covered transactions will be identified by the
 7   Secretary of Commerce on September 20, 2020, the same day the order goes into
 8   effect. 20
 9              57.   The executive order thus goes far beyond merely banning TikTok, and
10   instead prohibits “any transactions” involving its parent company, ByteDance. The
11   executive order imposes this sweeping restriction even though TikTok is just one of
12   ByteDance’s several businesses and despite the fact that the purported findings set
13   out in the executive order are limited only to TikTok.
14              58.   While the full scope of the executive order will remain unknown until
15   the Secretary of Commerce identifies the covered transactions on September 20,
16   2020, the order itself poses an existential threat to TikTok’s U.S. business.
17   Depending on the definition of prohibited transactions, when the ban goes into
18   effect, it could wipe out Plaintiffs’ entire TikTok business by preventing TikTok
19   from attracting new users; by driving current users to competing platforms; and by
20   destroying TikTok’s ability to partner with other companies and attract and retain
21   employees. Some of these harms have already materialized and will only accelerate
22   once the Commerce Department specifies the scope of prohibited transactions.
23   Plaintiffs intend to move for a preliminary injunction to enjoin this irreparable harm
24   once the Commerce Department issues its regulations and the full scope of the
25   unlawful executive order’s impact is understood.
26

27   6,    2020),     https://www.whitehouse.gov/presidential-actions/executive-order-
     addressing-threat-posed-tiktok/.
28   20
          Id.
                                                 -19-
                          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 21 of 39 Page ID #:21



 1         B.     The President Has Also Imposed Conditions on Plaintiffs’ Efforts
 2                to Divest the TikTok U.S. Business.

 3         59.    Despite these devastating economic consequences caused by the
 4   executive order, Plaintiffs have persisted in their efforts to follow through on their
 5   restructuring proposals.
 6         60.    Meanwhile, President Trump has acted to impose additional conditions
 7   on any sale. First, on August 3, 2020, President Trump stated: “A very substantial
 8   portion of th[e purchase] price is going to have to come into the Treasury of the
 9   United States. Because we’re making it possible for this deal to happen. Right now
10   they don’t have any rights, unless we give it to them. So if we’re going to give them
11   the rights, it has to come into this country.” 21 The President added that TikTok will
12   “close down on September 15 unless Microsoft or somebody else is able to buy it
13   and work out a deal—an appropriate deal. So the Treasury of the—really, the
14   Treasury . . . of the United States gets a lot of money. A lot of money. Okay?” 22
15         61.    The President elaborated on this condition on August 19, 2020, after
16   other potential buyers reportedly expressed interest in acquiring TikTok. When
17   asked whether he would “prefer Oracle to Microsoft,” the President responded:
18   “Well, I guess Microsoft wants it and so does Oracle, and probably so do other
19   people. But they have to also make sure the United States is well compensated
20   because we’re the ones making it possible. Very simple: We’re the ones making it
21   possible. So our Treasury has to be very well compensated. . . . You have to put
22   money into the Treasury.” 23
23
     21
       Fadel Allassan, Trump says TikTok will be banned if not sold by Sept. 15, demands
24   cut of sale fee, Axios (Aug. 3, 2020), https://www.axios.com/trump-tiktok-banned-
     microsoft-fd45748d-1ee8-4f4a-812a-09ec76d6f8e2.html.
25
     22
        Jason Murdock, Trump Demanding Cut From Microsoft TikTok Sale Akin to
26   ‘Extortion,’ Critics Say, Newsweek (Aug. 4, 2020), https://www.newsweek.com/
     tiktok-microsoft-sale-president-donald-trump-extortion-1522597.
27
     23
      White House, Remarks by President Trump During Border Wall Construction and
28   Operational Update | Yuma, AZ (Aug. 18, 2020), https://www.whitehouse.gov/

                                             -20-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 22 of 39 Page ID #:22



 1              62.   Second, on August 14, 2020, the President accepted CFIUS’s
 2   recommendation and issued an executive order titled “Regarding the Acquisition of
 3   Musical.ly by ByteDance Ltd.”24 The CFIUS order asserts without explanation that
 4   there is “credible evidence that leads me to believe that ByteDance Ltd. . . . might
 5   take action that threatens to impair the national security of the United States,” and
 6   based on this finding, the order prohibits “ownership by ByteDance of any interest
 7   in Musical.ly in the United States, whether effected directly or indirectly through
 8   ByteDance, or through ByteDance’s subsidiaries, affiliates, or Chinese
 9   shareholders.”25
10              63.   The President ignored the mitigation efforts by TikTok Inc. and
11   ByteDance and imposed a strict timeline for the company to do something it has
12   already offered to do: the CFIUS order mandates that, within 90 days (or 120 days,
13   if CFIUS chooses to provide a 30-day extension), ByteDance, its subsidiaries,
14   affiliates, and Chinese shareholders must “divest all interests and rights in: (i) any
15   tangible or intangible assets or property, wherever located, used to enable or support
16   ByteDance’s operation of the TikTok application in the United States, as determined
17   by the Committee; and (ii) any data obtained or derived from TikTok application or
18   Musical.ly application users in the United States.”26
19              64.   This lawsuit challenges the President’s August 6 executive order issued
20   under IEEPA. However, the CFIUS process and the President’s August 14 order
21   emanating from the CFIUS process provide important context for the August 6
22   order—for example, Plaintiffs’ mitigation proposals made during the CFIUS process
23
     briefings-statements/remarks-president-trump-border-wall-construction-
24   operational-update-yuma-az/?utm_source=link.
     24
25     White House, Order Regarding the Acquisition of Musical.ly by ByteDance Ltd
     (Aug. 14, 2020), https://www.whitehouse.gov/presidential-actions/order-regarding-
26   acquisition-musical-ly-bytedance-ltd/ (the “CFIUS order”). The CFIUS order was
     published in the Federal Register at 85 Fed. Reg. 51295.
27   25
          Id.
28   26
          Id.
                                                -21-
                          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 23 of 39 Page ID #:23



 1   undercut the rationale for not only the August 14 CFIUS executive order, but also
 2   the President’s August 6 IEEPA executive order.
 3   V.    The Background and Timing of the Executive Order Plainly Suggest
 4
           That It Was Designed Not for a Bona Fide National Security Reason But
           Instead to Further the President’s Anti-China Political Campaign.
 5

 6         65.   The President’s actions clearly reflect a political decision to campaign
 7   on an anti-China platform. As the 2020 election approaches, President Trump has
 8   consistently referred to COVID-19 as the “Wuhan virus,” “China virus,” and “Kung
 9   Flu,” despite previous public statements by officials in his own administration that
10   such terms were “highly offensive” and “hurtful.”27
11         66.   At his Tulsa campaign rally on June 20, 2020, for example, the
12   President deployed the term “Kung Flu” in discussing COVID-19, and added:
13   “China sent us the plague, thank you very much.” 28 On July 14, 2020, the President
14   returned to the theme, stating that “[n]o administration has been tougher on China
15   than this administration,” including by “hold[ing] China fully responsible for
16   concealing the virus and unleashing it upon the world.”29
17         67.   On July 30, 2020, the President again blamed China for the COVID-19
18   pandemic. When asked a question about providing unemployment insurance to
19   workers impacted by the COVID-19 pandemic, the President responded: “The fact
20

21
     27
       David Nakamura, With ‘kung flu,’ Trump sparks backlash over racist language —
22   and a rallying cry for supporters, Wash. Post (June 24, 2020), https://
     www.washingtonpost.com/politics/with-kung-flu-trump-sparks-backlash-over-
23   racist-language--and-a-rallying-cry-for-supporters/2020/06/24/485d151e-b620-
     11ea-aca5-ebb63d27e1ff_story.html.
24
     28
       Rev Services, Donald Trump Tulsa, Oklahoma Rally Speech Transcript (June 21,
25   2020), https://www.rev.com/transcript-editor/shared/QejgrzxQ6qkjA0Za9-pjLFZ
     S5ZdV1-9FJlVhEDgD__iryMlzWNTuiXG75Z31YksXxLelVlbkViOTbhfk9W8L
26   HVRjYLo?loadFrom=PastedDeeplink&ts=3769.
     29
27     White House, Remarks by President Trump in Press Conference (July 14, 2020),
     https://www.whitehouse.gov/briefings-statements/remarks-president-trump-press-
28   conference-071420/.

                                            -22-
                     COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 24 of 39 Page ID #:24



 1   is, people don’t like saying it — they know it’s true: It’s China’s fault. Okay?”30
 2         68.    The next day, on July 31, 2020, the President elaborated on his
 3   anti-China rhetoric. The President said that voters “love Trump on trade. . . . Look
 4   at what we did with China, we took in tens of billions of dollars. And before the
 5   plague came in, we were doing so great, we were doing better than any country has
 6   ever done. We were beating China at every level. . . . They were having the worst
 7   year and we were having the best year we have ever had.” Before introducing the
 8   other speakers, he ended the first portion of his speech by saying: “We will make
 9   America great again, you’ve heard that before. . . . And we were there until the virus
10   came upon us and we’ll soon be there again. And China, we have not forgotten.”31
11         69.    The President’s re-election campaign has recently run online
12   advertisements targeting TikTok, asking supporters to “sign the petition now to ban
13   TikTok.” 32 President Trump and his campaign’s targeting of TikTok follows a
14   recent political episode, noted above, involving TikTok, in which TikTok users
15   claimed that they used the application to coordinate mass ticket reservations and
16   inflate projected attendance for the President’s campaign rally in Tulsa. 33
17

18
     30
        White House, Remarks by President Trump in Press Briefing (July 30, 2020),
19   https://www.whitehouse.gov/briefings-statements/remarks-president-trump-press-
     briefing-july-30-2020/.
20
     31
        CSPAN, President Trump Remarks to Florida Sheriffs (July 31, 2020),
21   https://www.c-span.org/video/?474419-1/president-trump-remarks-florida-sheriffs.
     32
22     John D. McKinnon & Shan Li, TikTok Could Be Tougher Target for Trump
     Administration, Wall St. J. (July 26, 2020), https://www.wsj.com/articles/tiktok-
23   could-be-tougher-target-for-trump-administration-11595755800;     Kari       Soo
     Lindberg, Trump Campaign Urges Supporters to Back TikTok Ban in Online Ads,
24   Bloomberg News (July 18, 2020), https://www.bloomberg.com/news/articles/2020-
     07-18/trump-campaign-urges-supporters-to-back-tiktok-ban-in-online-ads.
25
     33
        Taylor Lorenz et al, TikTok Teens and K-Pop Stans Say They Sank Trump Rally,
26   N.Y. Times (July 11, 2020), https://www.nytimes.com/2020/06/21/style/tiktok-
     trump-rally-tulsa.html; Kari Soo Lindberg, Trump Campaign Urges Supporters to
27   Back TikTok Ban in Online Ads, Bloomberg News (July 18, 2020),
     https://www.bloomberg.com/news/articles/2020-07-18/trump-campaign-urges-
28   supporters-to-back-tiktok-ban-in-online-ads.

                                              -23-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 25 of 39 Page ID #:25



 1   VI.        The Opinions of Independent Experts Underscore the Lack of Any Bona
 2              Fide National Security Justification for the Executive Order.

 3              70.   The executive order is not rooted in bona fide national security
 4   concerns. Independent national security and information security experts have
 5   criticized the political nature of this executive order, and expressed doubt as to
 6   whether its stated national security objective is genuine. For example, Steven
 7   Weber, a cybersecurity expert who currently serves as Associate Dean and Head of
 8   UC Berkeley School of Information, has stated that, “[i]n this political environment
 9   between the United States and China, you’re guilty until proven innocent if you’re a
10   Chinese company.” 34 Weber recognizes that, “[i]n theory, any app that collects
11   users data (in other words, essentially every app) could be a national security risk,”
12   but his view “is that the issue here isn’t really about TikTok; it’s about the overall
13   deterioration in Sino-American relations.”35 He stressed that this anti-China focus
14   has been borne out by the Trump administration’s recent actions: “This week the
15   villain is TikTok, last month it was Zoom, and before that Huawei.”36 In this sense,
16   the executive order marks a continuation of what Michael Wessel, a commissioner
17   on the US-China Economic and Security Review Commission, has called “an
18   inappropriate conflation of two different policy goals—trade and national
19   security.” 37
20
     34
21     UC Berkeley School of Information, Steve Weber Says Geopolitical Tensions to
     Blame for Rising Fear in TikTok Security (July 15, 2020), https://
22   www.ischool.berkeley.edu/news/2020/steve-weber-says-geopolitical-tensions-
     blame-rising-fear-tiktok-security.
23
     35
       UC Berkeley School of Information, Steve Weber Says Fed’s Targeting of TikTok
24   Related to Worsening US-China Relations (July 13, 2020), https://
     www.ischool.berkeley.edu/news/2020/steve-weber-says-feds-targeting-tiktok-
25   related-worsening-us-china-relations.
     36
26        Id.
     37
27      Clare Duffy, Trump said he’d ease up on Huawei. Questions remain about what
     that means, CNN Business (July 5, 2019), https://www.cnn.com/2019/07/03/tech/
28   trump-huawei-restrictions/index.html.

                                              -24-
                         COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 26 of 39 Page ID #:26



 1          71.     Justin Sherman, fellow at the Atlantic Council’s Cyber Statecraft
 2   Initiative, has similarly observed that “as soon as a Chinese company is in the news,
 3   all of a sudden that becomes the new target” for the Trump administration.”38 And
 4   Cybersecurity Policy and China Digital Economy Fellow Samm Sacks has stated
 5   that such a ban “sets a dangerous precedent in which the U.S. government can
 6   blacklist companies based on country of origin using blanket national security as
 7   justification.” 39
 8          72.     Former U.S. government officials have also explained that the Trump
 9   administration’s handling of the CFIUS investigation involving ByteDance’s
10   acquisition of Musical.ly is well outside the bounds of normal national security
11   investigations. Former officials such as American Enterprise Institute scholar Derek
12   Scissors, a self-identified “China hawk,” have described the “chaos” and
13   “politicization” of the CFIUS review—“including Trump’s loud involvement”—as
14   “botched” and “unprecedented in the history of the nearly 50-year-old panel.” 40
15          73.     The executive order is especially unprecedented in light of the
16   extraordinary mitigation proposed by Plaintiffs—a divestiture of TikTok’s U.S.
17   operations to trusted U.S. owners who have experience and expertise to maintain the
18   privacy and security of U.S. user data—which would completely address any
19   conceivable national security concerns. But instead of taking seriously Plaintiffs’
20   efforts at mitigation as required by statute, the Trump administration failed to
21   propose modifications or even respond to the proposed mitigation solutions. The
22   President then threatened to take executive action against ByteDance and TikTok
23
     38
24     CNN, TikTok is a national security threat, US politicians say. Here’s what experts
     think (July 9, 2020), https://wtop.com/cyber-security/2020/07/tiktok-is-a-national-
25   security-threat-us-politicians-say-heres-what-experts-think/.
     39
26      Samm Sacks, Banning TikTok is a terrible idea, SupChina (July 16, 2020),
     https://supchina.com/2020/07/16/banning-tiktok-is-a-terrible-idea/.
27   40
        Emily Birnbaum, ‘This has been botched’: This is what makes Trump’s TikTok
28   tirade so unusual, Protocol (Aug. 6, 2020), https://www.protocol.com/cfius-tiktok-
     not-how-this-works.
                                            -25-
                          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 27 of 39 Page ID #:27



 1   Inc. unless they pursued a divestiture—the very spin-out restructuring solution that
 2   Plaintiffs had previously proposed as mitigation—but with one additional condition:
 3   that the Treasury Department receive “a lot of money.” The President’s demands
 4   for payments have no relationship to any conceivable national security concern and
 5   serve only to underscore that Defendants failed to provide Plaintiffs with the due
 6   process required by law.
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            -26-
                     COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 28 of 39 Page ID #:28



 1                                  CLAIMS FOR RELIEF
 2       Count 1: The Executive Order Violates the Due Process Clause of the
 3
                                 Fifth Amendment

 4         74.     Plaintiffs reallege and incorporate by reference all prior paragraphs of
 5   this Complaint and the paragraphs in the counts below as though fully set forth in
 6   this count.
 7         75.     The Fifth Amendment to the U.S. Constitution provides: “No person
 8   shall . . . be deprived of life, liberty, or property, without due process of law[.]” U.S.
 9   Const. amend. V. The Due Process Clause of the Fifth Amendment requires that
10   parties deprived of their property receive adequate notice and an opportunity to be
11   heard. Mathews v. Eldridge, 424 U.S. 319, 334–35 (1976).
12         76.     TikTok Inc., as a U.S. entity, is unquestionably entitled to the
13   protections of the due process clause. N. Sec. Co. v. United States, 24 S. Ct. 436,
14   444 (1904) (“Corporations are persons within the meaning of the constitutional
15   provision forbidding the deprivation of property without due process of law, as well
16   as a denial of the equal protection of the laws.”). And ByteDance, as a foreign entity
17   that has substantial connections with and holds property located in the United States,
18   is entitled to those protections as well. See Nat’l Council of Resistance of Iran v.
19   Dept. of State, 251 F.3d 192, 203 (D.C. Cir. 2001) (foreign organizations that have
20   “entered the territory of the United States and established substantial connections
21   with this country . . . are entitled to the protections of the Constitution.”); Russian
22   Volunteer Fleet v. United States, 282 U.S. 481, 491–92 (1931) (foreign organization
23   that acquires or holds property in the U.S. may invoke the protections of the
24   Constitution when that property is placed in jeopardy by government intervention).
25         77.     The executive order deprives TikTok Inc. and ByteDance of their
26   property rights by allowing the Secretary of Commerce to prohibit “any transaction”
27   by any person, or with respect to any property, subject to U.S. jurisdiction, with
28   ByteDance, TikTok Inc., or any of ByteDance’s other subsidiaries. Although the

                                               -27-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 29 of 39 Page ID #:29



 1   exact breadth of Plaintiffs’ deprivation will remain uncertain until Defendants define
 2   the covered transactions on September 20, 2020, the order plainly contemplates a
 3   profound deprivation of Plaintiffs’ property rights, regardless of how broadly or
 4   narrowly Defendants choose to implement it.
 5          78.       In the specific context of IEEPA, due process requires that Plaintiffs be
 6   informed of the reasons for the executive order, so that they may have an adequate
 7   ability to respond in a meaningful way. Al Haramain Islamic Found., Inc. v. U.S.
 8   Dep’t of Treasury, 686 F.3d 965, 1001 (9th Cir. 2012) (holding that Treasury’s
 9   Office of Foreign Assets Control violated organization’s due process rights by
10   “failing to provide an adequate statements of reasons for its investigation” under
11   IEEPA).
12          79.       To date, Plaintiffs have received no notice or opportunity to respond to
13   the deprivation contemplated in the order, and the order provides for no such
14   opportunity for Plaintiffs to respond before or after the order takes effect. Instead,
15   the order facially contemplates that the government will not notify Plaintiffs of
16   which transactions are covered by the order until the same day the order takes effect
17   and deprives them of their rights.
18          80.       The executive order is thus unconstitutional because it deprives
19   Plaintiffs of their property rights without adequate due process.
20          81.       Defendants’ due process violations will cause ongoing irreparable harm
21   to Plaintiffs.
22     Count 2: The Executive Order is Ultra Vires Because It Is Not Based on a
23
                         Bona Fide National Emergency.
                             (50 U.S.C. §§ 1701–1706)
24

25          82.       Plaintiffs reallege and incorporate by reference all prior paragraphs of
26   this Complaint and the paragraphs in the counts below as though fully set forth in
27   this count.
28          83.       IEEPA grants the President authority to regulate various international
                                                 -28-
                          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 30 of 39 Page ID #:30



 1   economic transactions during wartime or upon declaration of a national emergency
 2   “to deal with any unusual and extraordinary threat, which has its source in whole or
 3   substantial part outside the United States, to the national security, foreign policy, or
 4   economy of the United States.” 50 U.S.C. § 1701(a).
 5         84.    Before the President is empowered to exercise authority under IEEPA,
 6   the President must first declare a national emergency for purposes of the NEA, 50
 7   U.S.C. § 1601 et seq.
 8         85.    On May 15, 2019, President Trump declared that “the unrestricted
 9   acquisition or use in the United States of information and communications
10   technology or services designed, developed, manufactured, or supplied by persons
11   owned by, controlled by, or subject to the jurisdiction or direction of foreign
12   adversaries augments the ability of foreign adversaries to create and exploit
13   vulnerabilities in information and communications technology or services, with
14   potentially catastrophic effects, and thereby constitutes an unusual and extraordinary
15   threat to the national security, foreign policy, and economy of the United States.”
16   See Executive Order 13873 (Securing the Information and Communications
17   Technology and Services Supply Chain).
18         86.    In his August 6 executive order targeting TikTok, President Trump
19   drew upon the emergency declared in Executive Order 13873, asserting that
20   “additional steps must be taken to deal with the national emergency with respect to
21   the information and communications technology and services supply chain,” and
22   that, “[a]t this time, action must be taken to address the threat posed by one mobile
23   application in particular, TikTok.”
24         87.    But the actions directed in the August 6 executive order are not
25   supported by the emergency declared a year earlier in Executive Order 13873.
26         88.    That previous executive order was designed to address asserted U.S.
27   national security concerns about certain telecommunications companies’ ability to
28   abuse access to “information and communications technology and services” that

                                              -29-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 31 of 39 Page ID #:31



 1   “store and communicate vast amounts of sensitive information, facilitate the digital
 2   economy, and support critical infrastructure and vital emergency services, in order
 3   to commit malicious cyber-enabled actions, including economic and industrial
 4   espionage against the United States and its people.”
 5            89.   TikTok Inc. is not a telecommunications provider and it does not
 6   provide the types of technology and services contemplated by the 2019 executive
 7   order.    Specifically, TikTok Inc. does not provide the hardware backbone to
 8   “facilitate the digital economy,” and TikTok Inc. has no role in providing “critical
 9   infrastructure and vital emergency services.” Rather, TikTok Inc. is a social media
10   company, and the TikTok mobile application is a software platform on which users
11   express their views and opinions in short form video.
12            90.   Apart from its misplaced reliance on Executive Order 13873, the order
13   also fails on its face to identify any actual threat that TikTok poses to the national
14   security of the United States.      As noted above, the order states, without any
15   explanation and in direct conflict with the voluminous agency record of TikTok’s
16   robust data security practices, that TikTok (i) engages in data collection practices
17   that “potentially allow[] China” to make use of U.S. user data for nefarious purposes,
18   (ii) “reportedly censors content,” and (iii) “may be used for disinformation
                    41
19   campaigns.”         These speculative assertions, made without any evidentiary
20   foundation, do not constitute a bona fide national emergency.
21            91.   The executive order is accordingly ultra vires because it is not based on
22   a bona fide national “emergency” as that term was used by Congress. The text of
23   IEEPA requires that an “emergency” be an “unusual and extraordinary threat.” 50
24   U.S.C. § 1701(a). The legislative history of IEEPA makes clear that emergencies
25   within the meaning of the statute are “rare and brief” as opposed to “normal, ongoing
26   problems.” See Revision of Trading With the Enemy Act: Markup Before the H.
27   41
        White House, Executive Order on Addressing the Threat Posed by TikTok (Aug.
28   6, 2020), https://www.whitehouse.gov/presidential-actions/executive-order-
     addressing-threat-posed-tiktok/ (emphasis added).
                                           -30-
                         COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 32 of 39 Page ID #:32



 1   Comm. on Int’l Relations, 95th Cong. 4 (1977).
 2          92.       Because President Trump issued the executive order targeting Plaintiffs
 3   for political and strategic purposes pertaining to his political campaign, and not to
 4   deal with an “unusual and extraordinary threat” to the national security, foreign
 5   policy, or the economy of the United States, the executive order is ultra vires.
 6          93.       Defendants’ ultra vires violation will cause ongoing irreparable harm
 7   to Plaintiffs.
 8    Count 3: The Executive Order is Ultra Vires Because Its Prohibitions Are
 9
      Broader Than the Purported Unusual or Extraordinary Threat Invoked by
                                  the President.
10                          (50 U.S.C. §§ 1701–1706)
11          94.       Plaintiffs reallege and incorporate by reference all prior paragraphs of
12   this Complaint and the paragraphs in the counts below as though fully set forth in
13   this count.
14          95.       The President’s authority under IEEPA “may only be exercised to deal
15   with an unusual and extraordinary threat . . . and may not be exercised for any other
16   purpose.” 50 U.S.C. § 1701(b).
17          96.       Even if the executive order did deal with an “unusual and extraordinary
18   threat,” the order by its very terms identifies that threat as being posed “by one
19   mobile application in particular, TikTok.” The President made no findings as to
20   ByteDance or any of its subsidiaries other than TikTok Inc. and did not declare a
21   national emergency related to those entities.
22          97.       The executive order, however, is not limited to TikTok Inc., the U.S.
23   entity, or the TikTok application. Instead, the order prohibits “any transaction . . .
24   with ByteDance Ltd. . . . or its subsidiaries, in which any such company has an
25   interest . . . .” The order thus, by its very terms, goes far beyond the purported threat
26   identified by the President and beyond the scope of any executive action that could
27   reasonably be needed to deal with that threat.
28          98.       Because the purported threat, even taken at face value, is limited to

                                                 -31-
                          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 33 of 39 Page ID #:33



 1   TikTok “in particular,” the order’s ban on any transactions with ByteDance or its
 2   subsidiaries is plainly overbroad to the extent that it authorizes the Secretary of
 3   Commerce to prohibit transactions related to ByteDance more broadly, including its
 4   other applications that are available in the United States, such as the video-editing
 5   application CapCut and the communications software Lark.                The prohibitions
 6   authorized by the text of the order wholly fail to distinguish TikTok from
 7   ByteDance’s other U.S. products and services.
 8          99.       The executive order is therefore ultra vires because it authorizes the
 9   prohibition of activities that have not been found to be an unusual and extraordinary
10   threat, as required by IEEPA.
11          100. Defendants’ ultra vires violation will cause ongoing irreparable harm
12   to Plaintiffs.
13     Count 4: The Executive Order is Ultra Vires Because It Restricts Personal
14      Communications and the Transmission of Informational Materials in
                                 Violation of IEEPA
15                            (50 U.S.C. §§ 1701–1706)
16          101. Plaintiffs reallege and reincorporate by reference all prior paragraphs
17   of this Complaint and the paragraphs in the counts below as though fully set forth
18   herein.
19          102. The authority granted to the President under IEEPA “does not include
20   the authority to regulate or prohibit, directly or indirectly . . . any postal, telegraphic,
21   telephonic, or other personal communication, which does not involve a transfer of
22   anything of value.” 50 U.S.C. § 1702(b)(1).
23          103. A separate “informational materials exception” protects the import and
24   export of “any information or informational materials, including but not limited to,
25   publications, films, posters, phonograph records, photographs, microfilms,
26   microfiche, tapes, compact disks, CD ROMs, artworks, and news wire feeds,”
27   regardless “of format or medium of transmission,” so long as the materials are not
28   independently controlled for export through operation of specified regulations. Id.
                                                -32-
                          COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 34 of 39 Page ID #:34



 1   § 1702(b)(3).
 2          104. The TikTok application transmits and stores both personal
 3   communications and informational materials within the meaning of IEEPA.
 4          105. By purporting to ban the TikTok application in the United States, the
 5   executive order necessarily restricts personal communications and the transmission
 6   of informational materials.
 7          106. The executive order is therefore ultra vires because it authorizes the
 8   prohibition of activities that are expressly carved out from the President’s authorities
 9   under IEEPA.
10          107. Defendants’ ultra vires violation will cause ongoing irreparable harm
11   to Plaintiffs.
12                    Count 5: IEEPA Violates the Non-Delegation Doctrine
13          108. The U.S. Constitution provides for separation of powers between the
14   branches of our government to avoid excessive concentration of power in any single
15   branch. The Constitution vests legislative power in the Congress, executive power
16   in the President, and judicial power in the courts, U.S. Const., arts. I–III, and it limits
17   the delegation of those powers to any other branch.
18          109. Congress can delegate its legislative functions to another branch only
19   if “Congress has supplied an intelligible principle to guide the delegee’s use of
20   discretion.” Gundy v. United States, 139 S. Ct. 2116, 2123 (2019).
21          110. In enacting IEEPA, Congress delegated legislative authority to the
22   President, empowering the President to declare a national emergency and take action
23   “to deal with any unusual and extraordinary threat, which has its source in whole or
24   substantial part outside the United States, to the national security, foreign policy, or
25   economy of the United States.” 50 U.S.C. § 1701.
26          111. The ambiguity and breadth of President Trump’s executive order
27   highlights that the President’s ability to invoke a national emergency under IEEPA
28   is so open-ended that Congress has not supplied an “intelligible principle” to guide

                                                -33-
                         COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 35 of 39 Page ID #:35



 1   Executive Branch decision-making authority. Gundy, 139 S. Ct. at 2123. Instead,
 2   Congress’s passage of IEEPA has in practice amounted to “merely announc[ing]
 3   vague aspirations and then assign[ing] others the responsibility of adopting
 4   legislation to realize its goals.” Id. at 2133 (Gorsuch, J., dissenting). Such an
 5   expansive delegation of authority runs afoul of core constitutional values of
 6   accountability and the separation of powers.
 7         112. The lack of any intelligible principle to guide or constrain the
 8   President’s action is manifest in the TikTok executive order, which purports to ban
 9   a U.S. company based in part on the content of the communications transmitted on
10   its platform and without any bona fide national security basis. This overbroad
11   exercise of authority confirms that the statute has become “nothing more than the
12   will of the current President.” Id. at 2135 (Gorsuch, J., dissenting).
13         113. The executive order is accordingly unconstitutional because IEEPA
14   violates the non-delegation doctrine.
15         114. President Trump’s unconstitutional exercise of IEEPA authority will
16   cause ongoing irreparable harm to Plaintiffs.
17       Count 6: The Executive Order Violates the Takings Clause of the Fifth
18
                                    Amendment

19         115. Plaintiffs reallege and incorporate by reference all prior paragraphs of
20   this Complaint and the paragraphs in the counts below as though fully set forth in
21   this count.
22         116. The Takings Clause provides that private property shall not “be taken
23   for public use, without just compensation.” U.S. Const. amend. V.
24         117. The President has repeatedly made demands for a “very substantial”
25   payment to the U.S. Treasury Department as a condition of approving a divestiture
26   of TikTok Inc.’s U.S. assets and has made clear that, in the absence of such a
27

28

                                              -34-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 36 of 39 Page ID #:36



 1   divestiture and payment, he would ban TikTok.42
 2          118. There is no conceivable regulatory basis for such a demand—or for the
 3   executive order’s destruction of Plaintiffs’ business more generally—and this
 4   unjustifiable   economic    deprivation   interferes   with   Plaintiffs’   legitimate
 5   investment-backed expectations. See Penn Cent. Transp. Co. v. City of New York,
 6   438 U.S. 104, 124 (1978).
 7          119. Defendants have accordingly violated the Takings Clause of the Fifth
 8   Amendment.
 9          120. Defendants’ taking in violation of the Fifth Amendment will cause
10   ongoing irreparable harm to Plaintiffs, for which there is no adequate remedy at law.
11        Count 7: The Executive Order Violates the First Amendment Right to Free
12
                                         Speech.

13          121. Plaintiffs reallege and incorporate by reference all prior paragraphs of
14   this Complaint and the paragraphs in the counts below as though fully set forth in
15   this count.
16          122. By preventing TikTok from operating in the United States, the
17   executive order violates Plaintiffs’ First Amendment rights in and to its code.
18          123. “Like music and mathematical equations, computer language is just
19   that, language, and it communicates information either to a computer or to those who
20   can read it.” Bernstein v. U.S. Dep’t of State, 922 F. Supp. 1426, 1435–36 (N.D.
21   Cal. 1996); Green v. U.S. Dep’t of Justice, 392 F. Supp. 3d 68, 86 (D.D.C. 2019).
22   “Because computer source code is an expressive means for the exchange of
23   information and ideas about computer programming[,] it is protected by the First
24   Amendment.” Junger v. Daley, 209 F.3d 481, 485 (6th Cir. 2000).
25          124. “As computer code—whether source or object—is a means of
26   expressing ideas, the First Amendment must be considered before its dissemination
27   42
       Fadel Allassan, Trump says TikTok will be banned if not sold by Sept. 15, demands
28   cut of sale fee, Axios (Aug. 3, 2020), https://www.axios.com/trump-tiktok-banned-
     microsoft-fd45748d-1ee8-4f4a-812a-09ec76d6f8e2.html.
                                             -35-
                      COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 37 of 39 Page ID #:37



 1   may be prohibited or regulated,” Universal City Studios, Inc. v. Reimerdes, 111 F.
 2   Supp. 2d 294, 326–27 (S.D.N.Y. 2000), regardless of whether the executive order
 3   targets TikTok because of its content or the order has only an incidental effect on
 4   TikTok Inc.’s speech. Only “the scope of the protection for computer code depends
 5   upon whether the restriction on the code is because of its content,” not the fact of
 6   protection itself. 321 Studios v. Metro Goldwyn Mayer Studios, Inc., 307 F. Supp.
 7   2d 1085, 1099–100 (N.D. Cal. 2004) (emphasis added); see also Junger, 209 F.3d
 8   at 484.
 9            125. The executive order facially burdens TikTok Inc.’s speech for both
10   functional and content-based reasons. The order specifically justifies targeting
11   TikTok based in part on the content of the videos hosted on TikTok, citing concerns
12   about videos on “politically sensitive” topics and videos about the “origins of the
13   2019 Novel Coronavirus.”
14            126. The contemplated scope of the order—banning any transactions with
15   TikTok Inc. and ByteDance, and, according to the President’s statements, forcing
16   TikTok to “close down” altogether—is “greater than essential to the furtherance” of
17   any government interest underlying the order. 321 Studios, 307 F. Supp. 2d at 1100.
18   The vast majority of TikTok videos could not reasonably be construed to in any way
19   relate to national security, nor is its user data more susceptible to collection by
20   Chinese authorities than from any number of other sources.
21            127. The overbroad nature of the order is readily apparent in light of
22   Plaintiffs’ extraordinary proposals to restructure the U.S. TikTok business, which
23   would address any purported national security concerns asserted in the executive
24   order.
25            128. Because the executive order is broader than necessary to serve any
26   governmental interest, the order violates TikTok Inc.’s First Amendment rights.
27            129. Defendants’ violation of TikTok Inc.’s First Amendment rights will
28   cause ongoing irreparable harm to Plaintiffs.

                                             -36-
                       COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 38 of 39 Page ID #:38



 1                             REQUESTED RELIEF
 2       WHEREFORE, Plaintiffs pray that this Court grant the following relief:
 3       (1)   Issue a declaratory judgment pursuant to 28 U.S.C. § 2201(a) that the
 4             August 6, 2020 executive order (No. 13942) is unlawful and
 5             unconstitutional;
 6       (2)   Issue an order invalidating the August 6, 2020 executive order
 7             (No. 13942), preliminarily and permanently enjoining Defendants from
 8             implementing or enforcing the August 6, 2020 executive order
 9             (No. 13942), and preserving the status quo;
10       (3)   Grant any other and further relief that this Court may deem just and
11             proper.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         -37-
                   COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 Case 2:20-cv-07672 Document 1 Filed 08/24/20 Page 39 of 39 Page ID #:39



 1   DATED: August 24, 2020                Respectfully submitted,
 2

 3                                             /s John E. Hall             .
 4   Beth S. Brinkmann (SBN 129937)**      John E. Hall (SBN 118877)
     Alexander A. Berengaut*               Anders Linderot*
 5   Megan C. Keenan*                      COVINGTON & BURLING LLP
     COVINGTON & BURLING LLP               The New York Times Building
 6   Washington, DC                        620 Eighth Avenue
     One CityCenter                        New York, New York 10018-1405
 7   850 Tenth Street, NW                  Telephone: +1 (212) 841-1000
     Telephone: +1 (202) 662-6000          Facsimile: + 1 (212) 841-1010
 8   Facsimile: + 1 (202) 778-6000         Email: jhall@cov.com
     Email: bbrinkmann@cov.com                     alinderot@cov.com
 9           aberengaut@cov.com
             mkeenan@cov.com               Mitchell A. Kamin (SBN 202788)
10                                         Benjamin G. Cain (SBN 325122)**
                                           COVINGTON & BURLING LLP
11                                         1999 Avenue of the Stars, Suite 3500
                                           Los Angeles, California 90067-4643
12                                         Telephone: + 1 (424) 332-4800
                                           Facsimile: + 1 (424) 332-4749
13                                         Email: mkamin@cov.com
                                                  bcain@cov.com
14
                                           Attorneys for Plaintiffs
15
                                           *Pro hac vice application forthcoming
16                                         **C.D. California admission
                                           forthcoming
17

18

19

20

21

22

23

24

25

26

27

28

                                        -38-
                   COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
